           Case 2:23-ap-01169-SK Doc 17 Filed 07/26/23                                             Entered 07/26/23 21:22:18                        Desc
                               Imaged Certificate of Notice                                        Page 1 of 4
                                                               United States Bankruptcy Court
                                                                Central District of California
Berger,
       Plaintiff                                                                                                        Adv. Proc. No. 23-01169-SK
Klein,
       Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 0973-2                                                   User: admin                                                                 Page 1 of 2
Date Rcvd: Jul 24, 2023                                                Form ID: pdf031                                                            Total Noticed: 2
The following symbols are used throughout this certificate:
Symbol          Definition
+                 Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                  regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jul 26, 2023:
Recip ID                 Recipient Name and Address
pla                    + David Berger, 3101 S Fairview St Sp #5, Santa Ana, CA 92704-6564
dft                    + Leslie Klein, 322 N. June Street, Los Angeles, CA 90004-1042

TOTAL: 2

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID          Bypass Reason Name and Address
intp                            Courtesy NEF

TOTAL: 1 Undeliverable, 0 Duplicate, 0 Out of date forwarding address


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jul 26, 2023                                            Signature:            /s/Gustava Winters




                                   CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on July 24, 2023 at the address(es) listed below:
Name                               Email Address
Baruch C Cohen
                                   on behalf of Plaintiff David Berger bcc@BaruchCohenEsq.com paralegal@baruchcohenesq.com

Clarisse Young
                                   on behalf of Interested Party Courtesy NEF youngshumaker@smcounsel.com levern@smcounsel.com

Michael I. Gottfried
                                   on behalf of Interested Party Courtesy NEF mgottfried@elkinskalt.com
                                   cavila@elkinskalt.com,lwageman@elkinskalt.com,docketing@elkinskalt.com

Michael S Kogan
          Case 2:23-ap-01169-SK Doc 17 Filed 07/26/23                                Entered 07/26/23 21:22:18    Desc
                              Imaged Certificate of Notice                           Page 2 of 4
District/off: 0973-2                                         User: admin                                          Page 2 of 2
Date Rcvd: Jul 24, 2023                                      Form ID: pdf031                                     Total Noticed: 2
                             on behalf of Defendant Leslie Klein mkogan@koganlawfirm.com

Nikko Salvatore Stevens
                             on behalf of Interested Party Courtesy NEF nikko@cym.law mandi@cym.law

United States Trustee (LA)
                             ustpregion16.la.ecf@usdoj.gov


TOTAL: 6
Case 2:23-ap-01169-SK Doc 17 Filed 07/26/23                       Entered 07/26/23 21:22:18             Desc
                    Imaged Certificate of Notice                  Page 3 of 4


      Michael S. Kogan, Esq. (SBN 128500)
  1   KOGAN LAW FIRM, APC
      11500 W. Olympic Blvd., Suite 400
  2   Los Angeles, California 90064                                   FILED & ENTERED
      Telephone (310) 954-1690
  3   mkogan@koganlawfirm.com
                                                                            JUL 24 2023
  4   Attorneys for Defendant
                                                                       CLERK U.S. BANKRUPTCY COURT
  5                                                                    Central District of California
                                                                       BY may        DEPUTY CLERK
  6
                                  UNITED STATES BANKRUPTCY COURT
  7
                                  CENTRAL DISTRICT OF CALIFORNIA
  8
                                         LOS ANGELES DIVISION
  9
      In re                                         )    Case No. 2:23-bk-10990-SK
 10                                                 )
      LESLIE KLEIN,                                 )    Chapter 11
 11                                                 )
                     Debtor.                        )
 12                                                 )    Adv. No. 2:23-ap-01169-SK
                                                    )
 13                                                 )
      DAVID BERGER,                                 )
 14                                                 )
                                                    )    ORDER ON STIPULATION TO EXTEND
 15                  Plaintiff,                     )    TIME TO RESPOND TO COMPLAINT
                                                    )
 16           v.                                    )
                                                    )
 17   LESLIE KLEIN,                                 )    Present Status Conference Date:
                                                    )    Date:      September 6, 2023
 18                  Defendant.                     )    Time:      9:00 a.m.
                                                    )    Place:     Courtroom 1575
 19                                                 )
                                                    )
 20                                                 )
                                                    )
 21                                                 )
                                                    )
 22                                                 )
                                                    )
 23                                                 )
 24

 25           The Court having considered the ³Stipulation to Extend Time to Respond to Complaint´
 26   (³Stipulation´), Docket #14, entered into by Plaintiff David Berger (the "Plaintiff"), and
 27   'HIHQGDQW/HVOLH.OHLQ ³Klein´RU³Defendant´DQGWRJHWKHUZLWK3ODLQWLIIWKH³Parties´ 
 28   through their respective attorneys, having found that notice is proper, and based upon the
                   ORDER ON STIPULATION TO EXTEND TIME TO RESPOND TO COMPLAINT
Case 2:23-ap-01169-SK Doc 17 Filed 07/26/23                      Entered 07/26/23 21:22:18           Desc
                    Imaged Certificate of Notice                 Page 4 of 4



  1   Stipulation;

  2           IT IS HEREBY ORDERED THAT:

  3           1.      The Stipulation is approved.

  4           2.      'HIHQGDQW¶VWLPHWRUHVSRQGWRWKH&RPSODLQWis extended to and including August

  5   22, 2023.

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 22
      Date: July 24, 2023
 23

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 26

 27

 28
                   ORDER ON STIPULATION TO EXTEND TIME TO RESPOND TO COMPLAINT
